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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                    )
 UNITED STATES OF AMERICA                           )
                                                    )
 v.                                                 )
                                                    ) Case No. 20-cr-10111-RWZ
 CHARLES LIEBER,                                    )
                                                    )
        Defendant.                                  )
                                                    )

 DEFENDANT’S ASSENTED-TO MOTION FOR LEAVE TO FILE HIS MOTION TO
 COMPEL PRODUCTION OF MATERIALS CONCERNING CHINA’S THOUSAND
                  TALENTS PROGRAM UNDER SEAL

       Pursuant to Local Rule 83.6.11(b), counsel for the Defendant Charles Lieber respectfully

requests leave of the Court to file under seal his forthcoming Motion to Compel Production of

Materials Concerning China’s Thousand Talents Program.          In support of this request, the

Defendant’s motion details “Discovery Materials” as that term is defined by the Protective Order

in this matter (see ECF No. 58). The Protective Order precludes the public filing of Discovery

Materials. In accordance with the Local Rules and with the government’s assent, Defendant

requests leave of the Court to file his motion and any accompanying exhibits under seal.



Dated: April 13, 2021                               Respectfully submitted,

                                                    CHARLES LIEBER

                                                    By his attorneys,

                                                      /s/ Torrey K. Young
                                                    Torrey K. Young (BBO #682550)
                                                    Marc L. Mukasey (admitted pro hac vice)
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                          LOCAL RULE 7.1(a)(2) CERTIFICATION

       Counsel for the government assents to this Motion. I hereby certify that a copy of the
foregoing was filed electronically. Notice of this filling will be sent by e-mail to all parties via
the Court’s electronic filing system.

                                                        /s/ Torrey K. Young
                                                       Torrey K. Young
